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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

DIGITAL VERIFICATION SYSTEMS,         §
LLC,                                  §
                                      §
      Plaintiff,                      §                      Case No: 21-10785
                                      §
vs.                                   §                      JURY TRIAL DEMANDED
                                      §
NOTARIZE, INC.,                       §
                                      §
      Defendant.                      §
_____________________________________ §


                                           COMPLAINT

       Plaintiff Digital Verification Systems, LLC (“Plaintiff” or “DVS”) files this Complaint

against Notarize, Inc. (“Defendant” or “Notarize”) for infringement of United States Patent No.

9,054,860 (hereinafter “the ‘860 Patent”).

                               PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company located at 1 East Broward

Boulevard, Suite 700, Fort Lauderdale, FL 33301.

       4.      On information and belief, Defendant is a Delaware corporation with its principal

office located at 745 Boylston Street, Boston, MA 02116. On information and belief, Defendant

may be served through its agent, Corporation Service Company, 251 Little Falls Drive,




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Wilmington, DE 19808.

        5.       On information and belief, this Court has personal jurisdiction over Defendant

because Defendant has committed, and continues to commit, acts of infringement in this District,

has conducted business in this District, and/or has engaged in continuous and systematic

activities in this District.

        6.       On information and belief, Defendant’s instrumentalities that are alleged herein

to infringe were and continue to be used, imported, offered for sale, and/or sold in this District.

                                              VENUE

        7.       On information and belief, venue is proper in this District under 28 U.S.C. §

1400(b) because Defendant is deemed to reside in this District.             Alternatively, acts of

infringement are occurring in this District and Defendant has a regular and established place of

business in this District.

                                   COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO. 9,054,860)

        8.       Plaintiff incorporates paragraphs 1 through 7 herein by reference.

        9.       This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

        10.      Plaintiff is the owner by assignment of the ‘860 Patent with sole rights to enforce

the ‘860 Patent and sue infringers.

        11.      A copy of the ‘860 Patent, titled “Digital Verified Identification System and

Method,” is attached hereto as Exhibit A.

        12.      The ‘860 Patent is valid, enforceable, and was duly issued in full compliance with

Title 35 of the United States Code.

        13.      Upon information and belief, Defendant has infringed and continues to infringe



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one or more claims, including at least Claim 1, of the ‘860 Patent by making, using (at least by

having its employees, or someone under Defendant's control, test the accused Product),

importing, selling, and/or offering for sale associated hardware and/or software for digital

signature services (e.g., Notarize), and any similar products and/or services (“Product”) covered

by at least Claim 1 of the ‘860 Patent. Defendant has infringed and continues to infringe the ‘860

patent either directly or through acts of contributory infringement or inducement in violation of

35 U.S.C. § 271.

       14.     The Product provides a system for e-signing digital documents. The Product

provides for digitally verifying the identification of a signer. Certain aspects of this element are

illustrated in the screenshot(s) below and/or in those provided in connection with other

allegations herein.




       15.     The Product includes at least one digital identification module structured to be



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associated with at least one entity. For example, the Product provides a module (e.g., creation

of an e-signature module for a user) to be associated with at least one entity (i.e., a user who

needs to create an e-signature). Certain aspects of this element are illustrated in the screenshot(s)

below and/or in those provided in connection with other allegations herein.




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       16.     The Product includes a module generating assembly structured to receive at least

one verification data element corresponding to the at least one entity and create said at least one

digital identification module. For example, the Product includes a module generating assembly

structured to receive at least one verification data element corresponding to at least one entity

(e.g., a user has a unique login ID and password for accessing and verifying the Product account

for e-signing the documents). The module generating assembly is also structured to create the

at least one digital identification module (e.g., creating an e-signature of a user). Certain aspects

of this element are illustrated in the screenshot(s) below and/or in those provided in connection

with other allegations herein.




       17.     The at least one digital identification module is disposable within at least one

electronic file.   (e.g., a user can store the e-signature within a document, which can be

downloaded and/or printed). Certain aspects of this element are illustrated in the screenshot(s)

below and/or in those provided in connection with other allegations herein.




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       18.     The at least one digital identification module includes at least one primary

component structured to at least partially associate the digital identification module with the at

least one entity. For example, an e-signature of a user is associated with user information

including user name, date, etc.to at least partially associate the digital identification module with

the at least one entity (e.g., an e-signature is associated with a user). Certain aspects of this

element are illustrated in the screenshot(s) below and/or in those provided in connection with

other allegations herein.




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       19.     The at least one digital identification module is cooperatively structured to be

embedded within only a single electronic file. For example, the module (e-signature) is stored

within a single file (such as a PDF, Word doc, or image file, etc.). Certain aspects of this element

are illustrated in the screenshot(s) below and/or in those provided in connection with other

allegations herein.




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          20.   Defendant’s actions complained of herein will continue unless Defendant is

enjoined by this court.

          21.   Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

          22.   Plaintiff is in compliance with 35 U.S.C. § 287.

                                   PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)   Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)   Enter an Order enjoining Defendant, its agents, officers, servants, employees,

attorneys, and all persons in active concert or participation with Defendant who receive notice


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of the order from further infringement of United States Patent No. 9,054,860 (or, in the

alternative, awarding Plaintiff a running royalty from the time of judgment going forward);

       (c)       Award Plaintiff damages resulting from Defendant’s infringement in accordance

with 35 U.S.C. § 284;

       (d)       Award Plaintiff pre-judgment and post-judgment interest and costs; and

       (e)       Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

law or equity.



Dated: May 13, 2021                         Respectfully submitted,
                                            Attorneys for Plaintiff
                                            Digital Verification Systems, LLC

                                            /s/ Brendan M. Shortell
                                            Brendan M. Shortell (BBO# 675851)
                                            Lambert Shortell & Connaughton
                                            100 Franklin Street, Suite 903
                                            Boston, MA 02110
                                            Telephone: 617.720.0091
                                            Facsimile: 617.720.6307
                                            shortell@lambertpatentlaw.com




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